

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,765






EX PARTE KELVIN DEMOND LAWTON, Applicant








ON APPLICATIONS FOR WRITS OF HABEAS CORPUS


CAUSE NOS. F-99-29585-K IN CRIMINAL DISTRICT COURT


NUMBER FOUR FROM DALLAS COUNTY






	Per curiam.

		

ORDER



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty and was
convicted of aggravated sexual assault and burglary with intent to commit sexual assault and
sentenced to 35 years' imprisonment for each cause.  He did not appeal his convictions.

	Applicant contends that his pleas were involuntary because he was incompetent at the time
of his pleas.  This Court remanded these applications to the trial court to determine whether or not
a retrospective competency hearing was feasible and, if so, to conduct such a hearing.

	The trial court found that a retrospective competency hearing was feasible and held that
hearing before a jury on July 19, 2007.  The jury determined that Applicant had proved, by a
preponderance of the evidence, that he was incompetent at the time of his guilty pleas.  The trial court
recommends granting relief on these applications due to the jury's findings.  Applicant is entitled to
relief.  Ex parte Huerta, 692 S.W.2d 681 (Tex. Crim. App. 1985).

	Relief is granted.  The judgments in Cause Nos. F-0000823-K and F-99-29585-K in the
Criminal District Court Number Four of Dallas County are set aside, and Applicant is remanded to
the sheriff of Dallas County to answer the charges against him.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.

Delivered: September 12, 2007

Do Not Publish


